                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  at CHATTANOOGA

UNITED STATES OF AMERICA                   )
                                           )      No. 1:06-cr-57
v.                                         )      Judge Mattice
                                           )
BRANDON MILLS                              )


                                          ORDER

         On October 6, 2006, United States Magistrate William B. Mitchell Carter received

a letter from Stephen M. Dewalt, Warden of the Federal Bureau of Prisons in Lexington,

Kentucky, and a Forensic Evaluation of defendant Brandon Mills. The finding in the

evaluation was that the defendant is currently competent to stand trial. On October 12,

2006, a Waiver of Mental Competency Hearing was filed with this Court by counsel for

Mr. Mills. [Court Doc. No. 42].

         Magistrate Judge Carter filed his report and recommendation pursuant to 28 U.S.C.

§ 636(b)(1) and Federal Rule of Criminal Procedure 59(a), recommending on the basis of

the report and the waiver that Defendant Brandon Mills be found competent to stand trial,

on October 13, 2006. [Court Doc. No. 41.]

         After reviewing the record, the Court agrees with Magistrate Judge Carter’s report

and recommendation. The Court thus ACCEPTS and ADOPTS Magistrate Judge Carter’s

recommendations pursuant to § 636(b)(1) and Rule 59(a).

         Accordingly, the Court FINDS that Defendant Brandon Mills is competent to stand

trial.




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            SO ORDERED this 12th day of December, 2006.


                                                s/ Harry S. Mattice, Jr.
                                                HARRY S. MATTICE, JR.
                                           UNITED STATES DISTRICT JUDGE




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